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Attorney for Plaintiff




                              UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON

                                       PORTLAND DIVISION




      WILLIAM McGAIR,                               Case No.: 3:23-cv-00162-HZ

                          Plaintiff,                UNOPPOSED MOTION FOR EXTENSION
                                                    OF TIME TO FILE RESPONSE TO
  v.                                                DEFENDANTS' MOTION TO DISMISS

      SOLGEN POWER LLC and VERITY
      CREDIT UNION,

                          Defendants.



                                 L.R. 7.1 Certificate of Compliance:

         Pursuant to L.R. 7.1, counsel certifies that she has conferred with counsel for the

defendants in this case, and they do not oppose the relief requested in this Motion.

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                                                     ELEMENTAL    LAWTO LLC
DEFENDANTS' MOTION TO DISMISS                       7805 SW 40th Ave., #19025
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         Case 3:23-cv-00162-HZ          Document 23       Filed 06/16/23     Page 2 of 2




                                              Motion:

       1. Defendants filed their Motion to Dismiss and Exhibits on May 19, 2023. The plaintiff's

response to the Motion to Dismiss is due on June 16, 2023, and defendants' reply brief is due two

weeks after that, on June 30, 2023, in accord with the court's order of June 1, 2023, granting the

parties' joint motion to extend the original briefing schedule.

       2. The parties are discussing settlement. The plaintiff requests additional time to file his

response to the Motion to Dismiss while negotiations are ongoing; he moves the court for a

fourteen-day extension of his existing deadline to file the Response to the Motion to Dismiss.

       3. This is the second motion for extension of the briefing deadlines for this Motion. It is

not filed for the purposes of unwarranted delay and defendants to not oppose it.

                                            Dated this 16th day of June, 2023.



                                             /s/ Hope Del Carlo
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